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                      Exhibit 24
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                                                                          Page 1
   IN THE UNITED STATES DISTRICT COURT

  FOR THE EASTERN DISTRICT OF LOUISIANA

                 -    -    -


 IN RE: XARELTO         :       MDL NO. 2592
 (RIVAROXABAN) PRODUCTS :
 LITIGATION             :       SECTION L
                        :
 THIS DOCUMENT RELATES :        JUDGE ELDON
 TO ALL CASES           :       E. FALLON
                        :
                        :
                        :       MAG. JUDGE
                        :       NORTH


                  -    -    -

            December 14, 2016

                  -    -    -

               - PROTECTED -

- SUBJECT TO FURTHER PROTECTIVE REVIEW -


             Videotaped deposition of
HENRY MICHAEL RINDER, M.D., taken
pursuant to notice, was held at the law
offices of Douglas & London, 59 Maiden
Lane, New York, New York, beginning at
8:09 a.m., on the above date, before
Michelle L. Gray, a Registered
Professional Reporter, Certified
Shorthand Reporter, Certified Realtime
Reporter and Notary Public.

                 -    -    -

        GOLKOW TECHNOLOGIES, INC.
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                                                                              Page 2
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                                                                              Page 3
 1
             APPEARANCES:         (Cont'd.)
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                                                                            Page 33
 1
      specific reasonable and conservative
 2
      cutoff point at which the PT -- strike
 3
      that.      I'll reword it so my words don't
 4
      get tangled.
 5
                 A.       No problem.
 6
                 Q.       I'm just -- you agree that
 7
      there's no public health organization or
 8
      regulatory body who has recommended a
 9
      specific reasonable and conservative
10
      cutoff point at which -- for which
11
      Xarelto should be discontinued using PT,
12
      right?
13
                          MR. DENTON:         Object to the
14
                 form.      Asked and answered.
15
                          THE WITNESS:          They have not
16
                 reached that conclusion as yet.
17
      BY MR. STEKLOFF:
18
                 Q.       Are you aware of any
19
      peer-reviewed literature in which another
20
      doctor or scientist recommends a specific
21
      reasonable and conservative cutoff point
22
      at which Xarelto should be discontinued
23
      using PT?
24
                 A.       I think that the -- there's

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                                                                            Page 49
 1
                          MR. DENTON:         Object to the
 2
                 form.      Asked and answered.
 3
                          THE WITNESS:          I would say --
 4
                 I would say the latter at a
 5
                 national conference.              But we -- we
 6
                 have had formal -- I mean, these
 7
                 are formal meetings.              There are --
 8
                 they are scheduled.             They are
 9
                 regularly attended by clinical
10
                 staff and other interested
11
                 individuals.
12
      BY MR. STEKLOFF:
13
                 Q.       Bad question.          I didn't
14
      break it down enough.
15
                 A.       That's all right.
16
                 Q.       I'm going to break it down
17
      again.
18
                          Can we agree that you have
19
      not presented the opinion that Xarelto
20
      should be discontinued in patients whose
21
      PT is greater than 20 seconds at any
22
      national conference?
23
                          MR. DENTON:         Objection to
24
                 form.

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                                                                            Page 50
 1
                          THE WITNESS:          We have not
 2
                 yet presented that data or opinion
 3
                 at a national conference.
 4
      BY MR. STEKLOFF:
 5
                 Q.       Now, my understanding is
 6
      that your testimony a moment ago was that
 7
      you have discussed all NOACs and
 8
      monitoring and therapeutic ranges within
 9
      Yale and amongst colleagues.                  Is that
10
      fair?
11
                 A.       As part of our normal
12
      clinical management, these -- we have
13
      patients on all NOACs, warfarin, and all
14
      oral -- other oral anticoagulants.
15
                          And so it is a constant part
16
      of our practice.            So we are always
17
      discussing management, monitoring, and
18
      trying to figure out the best patient
19
      care possible.
20
                 Q.       I'm not trying to trick you
21
      here.      The answer to my question was
22
      simply a yes, right?
23
                          MR. DENTON:         Object to the
24
                 form.

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                                                                          Page 253
 1
      BY MR. STEKLOFF:
 2
                 Q.       Including the risk of
 3
      stroke?
 4
                          MR. DENTON:         Object to the
 5
                 form.
 6
                          THE WITNESS:          Certainly I
 7
                 would include everything in my
 8
                 assessment of overall mortality
 9
                 and risk.
10
      BY MR. STEKLOFF:
11
                 Q.       Do you believe to a
12
      reasonable degree of medical certainty
13
      that as a Xarelto patient's PT increases,
14
      he or she is at a greater risk of a fatal
15
      bleed?
16
                          MR. DENTON:         Object to the
17
                 form and context.
18
                          THE WITNESS:          So I -- I have
19
                 not seen data developed that would
20
                 be able to inform me to make a
21
                 knowledgeable decision about that
22
                 aspect.
23
      BY MR. STEKLOFF:
24
                 Q.       And is that true if I asked

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                                                                          Page 437
 1
 2
                             CERTIFICATE
 3
 4
 5
                   I HEREBY CERTIFY that the
      witness was duly sworn by me and that the
 6
      deposition is a true record of the
      testimony given by the witness.
 7

                   It was requested before
 8
      completion of the deposition that the
      witness, HENRY MICHAEL RINDER, M.D., have
 9
      the opportunity to read and sign the
      deposition transcript.
10
11

                 __________________________________
12
                 MICHELLE L. GRAY,
                 A Registered Professional
13
                 Reporter, Certified Shorthand
                 Reporter, Certified Realtime
14
                 Reporter and Notary Public
                 Dated: December 15, 2016
15
16
17
                   (The foregoing certification
18
      of this transcript does not apply to any
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